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                                   10:00 A.M.
                               COURTROOM No. 5B
                                PITTSBURGH, PA

                                            TUESDAY, APRIL 08, 2025

Coram: HARDIMAN, PHIPPS and FREEMAN, Circuit Judges

                                    No. 24-2510

                           NOVO NORDISK INC.; NOVO
                            NORDISK PHARMA, INC.,
                                  Appellants
                                      v.
                           SECRETARY UNITED STATES
                          DEPARTMENT OF HEALTH AND
                             HUMAN SERVICES; et al.

Counsel for Appellants                      Counsel for Appellees

ASHLEY C. PARRISH                           LINDSEY POWELL

(20 minutes per Court)                 (20 minutes per Court)
________________________________________________________________________

                                    No. 24-2968

                        NOVARTIS PHARMACEUTICALS CORP,
                                    Appellant
                                       v.
                           SECRETARY UNITED STATES
                            DEPARTMENT OF HEALTH
                           AND HUMAN SERVICES; et al.

Counsel for Appellant                       Counsel for Appellees

SAMIR DEGER-SEN                             CATHERINE M. PADHI

(20 minutes per Court)                      (20 minutes per Court)
       Case: 24-2510   Document: 87    Page: 2    Date Filed: 04/08/2025




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Coram: HARDIMAN, PORTER and FISHER, Circuit Judges

                                 No. 24-1241
                       Pursuant to 3rd Cir. LAR 34.1(a)

                       UNITED STATES OF AMERICA
                                   v.
                         CONSTANCE STOBERT,
                                Appellant
